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FOR rHE wEerRN DrsrRicr er rENNEssEE -¢ \ `
MEMPH\$ DivrleN

 

UN|TED STATES OF AMER|CA §
Pioiniiff §

§ CR|M. NO. 2:05cr20132-D
VS. §
§
RICHARD ESTEVANES §
Defendon’r §

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On this ihe gzg&dcy of , 2005, come on 10 be heard

Defendoni’s Mo’rion for Ac|mission Pro H<Jc Vice and ii is ’rhe decision of ihis court

ihcli sold Mo'rioh is hereby :

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DEN|ED [ ].

|T lS SO ORDERED.

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JUDGE PRESID|NG

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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